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                                       Attorney at Law




                                        MEMORANDUM


TO:          GABE MICHEL COURTROOM DEPUTY TO THE HONORABLE JOHN A. MENDEZ
FROM:        ROBERT M. WILSON
SUBJECT:     RYAN GUIDRY 2:20-CR-0003-JAM
DATE:        JULY 18, 2022
CC:          AUSA AUSA CHRIS HALES, KEVIN KHASIGIAN; USPO LYNDA MOORE


The above matter is scheduled for judgment and sentencing on August 16, 2022. All parties have
agreed to a continuance of judgment and sentencing based on medical related issues concerning
the defendantl and the need for additional time for the defense to provide information to
probation to facilitate the revised sentencing schedule below.

The following proposed sentencing schedule is offered:

Judgment and Sentencing Date:                      September 27, 2022
Reply, or Statement of Non-Opposition:             September 20, 2022
Formal objections/motion for correction due        September 14, 2022




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